        2:17-cv-02180-CSB-EIL # 56          Page 1 of 2                                             E-FILED
                                                                 Wednesday, 22 August, 2018 10:05:21 AM
                                                                            Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS - URBANA

JOHN DOE,                                   )
                                            )
               Plaintiff,                   )
                                            )        Case No. 17-CV-02180
       v.                                   )
                                            )        Honorable Colin S. Bruce
BOARD OF TRUSTEES OF THE                    )        Magistrate Eric I. Long
UNIVERSITY OF ILLINOIS,                     )
                                            )
               Defendant.                   )        JURY DEMANDED
                                            )

                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiff, John Doe, hereby appeals to the United States Court

of Appeals for the Seventh Circuit from an order entered on July 24, 2018 granting Defendant,

Board of Trustees of the University of Illinois’, Motion for Summary Judgment and denying

Plaintiff, John Doe’s, Motion for Summary Judgment, and from a final and appealable Judgment

entered in favor of the Defendant, Board of Trustees of the University of Illinois, against the

Plaintiff, John Doe, on July 24, 2018.


                                                /s/ Mark D. Roth
                                                Mark D. Roth, Attorney for Plaintiff/Appellant

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                               CERTIFICATE OF SERVICE

The undersigned attorney certifies that he caused a true and correct copy of the foregoing

instrument to be served upon the parties of record, as shown below, via the Court’s CM/ECF

filing system on the 22nd day of August 2018.


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                                                    /s/ Mark D. Roth
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